           > ; Jena Griswold

UCC Home

insuactinits                                                                                                           Organization Record Confirmation
FAQs                    Review and select "Confirm" if this entity is the correct business organization.
Login                   7                           7

Create User Account     1D Number:                             20211889022
                        Name:                                  Goidfields Funding Partners LLC

                        Principal Street Address:              1610 Wynkoop Street, Suite 400. Denver, CO, 80202, US
                            Principal Mailing Address:


                        Registered Agent:                      Patrick imesan
                            Registered Agent Street Address:   1610 Wynkoop Street, Suite 400. Denver. CO, 80202. US
                        Registered Agent Mailing Address:


                        Status:                                Good Standing
                        Fonn:                                  Limited Liability Company
                        Jurisdiction:                          co
                        Formation Date:                        2021-09-28




                                                2:22-bk-20132-BPH Doc#:
                                                2:22-bk-20132-BPH Doc#: 184-1
                                                                        180-1 Filed:
                                                                        180-1 Filed: 12/06/24
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